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IN THE CIRCUIT COURT FOR WASHINGTON COUNTY, MARYLAND

ROEERT E. COLLINS,
12710 Cover Road
Clear Spring, MD 21722,

Plaintiff,
Vs. : CIVIL ACTION NO.:

RONALD WAYNE WOODLIEF
61 Pulleyville Road
Kittrell, NC 27544,

And

VARIETY WHOLESALERS, INC.,
109 Durham Street
Fuquay-Varina, NC 27526,

Serve On: :
CSC Lawyers Incorporating Service Company
7 St. Paul Street

Suite 820

Baltimore, MD 21202,
Statutory Resident Agent,

Defendants.

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COMPLAINT AND DEMAND FOR JURY TRIAL

Plaintiff, by Bradley J. Reed and Britt - Reed Law Offices, his attorneys, sues
Defendants, and states in support:
General Allegations

1. ROBERT E. COLLINS (“Plaintiff”) is a resident of Clear Spring, Washington

County, Maryland.
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2. RONALD WAYNE WOODLIEF (“Defendant Employee”) is a resident of North
Carolina.

3. VARIETY WHOLESALERS, INC. (“Defendant Employer”) is a North Carolina
corporation with its principal office in North Carolina.

4.  OnJuly 30,2019, at approximately 4:22 A.M., (“the Date of the Accident”) Plaintiff
was operating a 2004 Pontiac Grand Prix (“the Plaintiff's Vehicle”) eastbound on
Route 40 at its intersection with Route 63 in Washington County, Maryland (“the
Accident Scene”).

5. On the Date of the Accident, Defendant Employee was operating a 2016 tractor
trailer owned by Defendant Employer (“the Defendant’s Vehicle”) northbound on
Route 63 at the Accident Scene.

6. On the Date ofthe Accident and at the Accident Scene, Defendant Employee caused
the Defendant’s Vehicle to travel through a red traffic light and strike the Plaintiff's
Vehicle in the intersection (collectively herein after referred to as “the Accident”).

Coant One ~ Negligence of Defendant Employee |

7. Count One incorporates by reference the General Allegations of this Complaint.

8. Defendant Employee owed a duty of care to Plaintiff to operate the Defendant’s
Vehicle in a lawful and careful marmer in accordance with the rules of the road, and
to operate the Defendant’s Vehicle in a safe, prudent, and cautious manner
calculated to avoid causing injury or property damage. .

9. Defendant Employee breached that duty of care and was negligent in that

Defendants Employee:
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10.

11.

12.

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(a)
(b)
(c)
(d)
(2)
()

failed to keep the Defendant’s Vehicle under control;

failed to keep a proper lookout;

failed to operate the Defendants Vehicle at a safe and prudent speed;
failed to obey the rules of the road and traffic control devices;

failed to slow and stop the Defendant’s Vehicle; and

failed to keep a safe stopping distance from Plaintiff's Vehicle.

As a direct and proximate result of Defendant Employee’s negligence, Plaintiff:

(a)
(b)

{c)
(d)
(e)
(f)
(g)
(h)
(i)

sustained injuries to various parts of the body;

received medical care and treatment and will continue to do so in the fisture
and incurred medical bills and other expenses, and will continue to incur
medical bills and other expenses in the near future;

suffered and will continue to suffer permanent pain and emotional trauma;
suffered a permanent impairment and disability;

sustained permanent scarring associated with the injuries in the Accident;
suffered a permanently diminished capacity to enjoy life;

incurred @ Joss of income and earning capacity;

sustained a loss of use and value of property: and

suffered and will continue to suffer other damages.

All of the Plaintiffs injuries were directly and solely caused by the negligence of

Defendants without any negligence by the Plaintiff.

All of the Plaintiff's injuries were directly and solely caused by the negligence of

Defendants without any negligence by a third patty,
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WHEREFORE, Plaintiff demands judgment against Defendants, jointly and
severally, for:
A. An award of compensatory damages in the amount of Three Hundred Thousand
Dollars ($300,000.00) to fully compensate hina for the injuries sustained;
B. Trial by jury; and
C. Such other and further relief as the nature of this cause may require.
Count Two — Negligence of Defendant Employer

13. Count Two incorporates by reference the General Allegations and the allegations of
Count One of this Complaint.

14. At all pertinent times as described in this Complaint including at the time of the
Accident, Defendant Employee was operating the Defendant’s Vehicle as an agent,
employee, or representative of the Defendant Employer.

I5. At all pertinent times as described in this Complaint including at the time of the

‘Accident, Defendant Employee was acting within the scope of his agency,
employment, or servitude with the Defendant Employer.

16. At all pertinent times as described in this Complaint including at the time of the
Accident, Defendant Employer held out the Defendant Employee as its authorized
and disclosed agent, employee, or servant.

17. At all pertinent times as described in this Complaint including at the time of the
Accident, Defendant Employer allowed and directed the Defendant Employee to
operate the Defendant’s Vehicle in the course and scope of the Defendant

Employee’s agency, employment, or servitude with the Defendant Employer,
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18. Defendant Employer is vicariously liable for the acts and omissions of Defendant
Employee as described in this Conoplaint.

19. Defendant Employer is vicariously liable for the injuries sustained by the Plaintiff
in the Accident.

20. All of the Plaintiff's injuries were directly and solely caused by the negligence of
Defendants without any negligence by the Plaintiff,

21. All of the Plaintiff's injuries were directly and solely caused by the negligence of
Defendants without any negligence by a third party,
WHEREFORE, Plaintiff demands judgment against Defendants, jointly and

severally, for:
D. An award of compensatory damages in the amount of Three Hundred Thousand

Dollars ($300,000.00) to fully compensate him for the injuries sustained;

E. Trial by jury; and

F. Such other and further relief as the nature of this cause may require.

BRITT - REED LAW OFFICES

By: /3f Bradley J. Reed
Bradley J. Reed

1) NO.: 0412150082

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